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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

CRIMINAL CASE NO. 09-16-S-DCR

UNITED STATES OF AMERICA,                                           PLAINTIFF,

v.

RUSSELL CLETUS MARICLE, et al.                                      DEFENDANTS.

                 DEFENDANT MARICLE’S MOTION FOR NEW TRIAL
                       AND MEMORANDUM IN SUPPORT

       Defendant Russell Cletus Maricle, by and through counsel and pursuant to Fed. R. Crim.

P. 33 (a), moves for a new trial on all counts of conviction because justice requires it.

Specifically, the Supreme Court’s recent decision, Skilling v. United States, 561 U.S. ____; No.

08-1394, 2010 LEXIS 5259 (June 24, 2010), requires that Maricle’s convictions on all counts be

vacated and that he be granted a new trial. The reasons for this Motion are set forth more fully in

the attached memorandum in support.

                                             Respectfully submitted,

                                             STRAUSS & TROY, LPA

                                             /s/ Martin S. Pinales        _______________
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                                MEMORANDUM IN SUPPORT

          This Court agreed to entertain argument from the Government and some defendants on

the effect of the Skilling decision on defendants’ convictions. Maricle believes that the Skilling

decision requires that his convictions be vacated and that he be granted a new trial. Because the

Skilling case was not decided until June 24, 2010, and this Court has been willing to entertain

arguments on the effect of the Skilling case on some of the other defendants, Maricle prays the

Court will allow him to submit his motion for new trial beyond the statutory deadline.

          I.     Background:

          On March 25, 2010, Defendant Russell Cletus Maricle was convicted of the following

counts:

          Count 1:      RICO Conspiracy (18 U.S.C. § 1962 (d))

          Count 2:      Money Laundering Conspiracy (18 U.S.C. § 1956 (h))

          Count 8:      Obstruction of Justice (18 U.S.C. §§ 1503 and 2)

          Count 10:     Voter Fraud Conspiracy (18 USC § 241)

          Count 11:     Election Fraud Conspiracy (18 U.S.C. § 371 & 42 USC § 1973i)

          The RICO Conspiracy in the Superseding Indictment charged Maricle with conspiring to

violate RICO, i.e. agreeing to participate directly or indirectly in the affairs of the Clay County

Board of Elections through a pattern of racketeering activity. The jury was instructed that it

must find beyond a reasonable doubt that Maricle agreed that some member or members of the

conspiracy would commit at least two acts of racketeering, which were set forth as honest

services mail fraud, extortion/attempted extortion, obstruction of justice, and bribery (See Jury

Instr. 12 F).




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       Recently, in Skilling v. United States, No. 08-1394, 2010 LEXIS 5259 (June 24, 2010),

the Supreme Court held that “honest-services” mail fraud pursuant to 18 U.S.C. § 1346

criminalizes only bribery and kickback schemes. More specifically, the Court held that “§1346

criminalizes only the bribery and kickback core of the pre-McNally case law.” Id. at *97-98

(emphasis in original). The statute’s “prohibition on bribes and kickbacks,” as interpreted by the

Court in Skilling “draws content not only from the pre-McNally case law, but also from federal

statutes proscribing – and defining – similar crimes.” Id. at *103-04 (citing 18 U.S.C. §§201 (b),

666 (a)(2); 41 U.S.C. § 52 (2))(“The term ‘kickback’ means any money, fee, commission, credit,

gift, gratuity, thing of value, or compensation of any kind which is provided, directly or

indirectly, to [enumerated persons] for the purpose of improperly obtaining or rewarding

favorable treatment in connection with [enumerated circumstances].”). The Court found that

Skilling did not commit honest services fraud because [t]he Government did not, at any time,

allege that Skilling solicited or accepted side payments from a third party in exchange for

making these misrepresentations.” Id. at *105.

       According to Skilling, the essence of bribery is a quid pro quo exchange – there must be a

specific intent to give or receive something of value in exchange for an official act. See e.g.

United States v. Orenuga, 430 F.3d 1158, 1166 (D.C. Cir. 2005)(in a bribery case, “the illegal

conduct is taking or agreeing to take money for a promise to act in a certain way.”).

Interestingly, in United States v. Scrushy, No. 09-167, 2010 LEXIS 5528 (June 29, 2010), the

Supreme Court granted certiorari, vacated the judgment, and remanded for reconsideration in

light of Skilling, where the question presented was whether the government’s evidence of

campaign contributions provided in exchange for official acts constituted sufficient evidence of a

quid pro quo to support an honest services fraud conviction. (vacating United States v.




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Siegelman, 561 F.3d 1215 (11th Cir. 2009)). Thus, it is obvious that the Skilling decision

drastically limits what can be considered honest services fraud.

       Even in 2006, the Sixth Circuit stated that “honest services fraud is anchored upon the

defendant’s misuse of his public office for personal profit.” United States v. Turner, 459 F.3d

775, 783 (6th Cir. 2006)(“holding that “[b]ecause §1346 evinces Congressional intent to revive

only prosecutions for deprivations of the right to honest services, not honest elections, it would

contradict such intent to try to recharacterize an election fraud case as a pre-McNally honest

services case”). The question then becomes: Does the evidence in this case even demonstrate

honest services fraud as contemplated by the Skilling case?

       The Government argued that the honest services fraud counts were based on Thompson

and Jones coaching election officers on how to steal votes and certifying the results of the vote

buying. The Government contended that they used their positions as county clerk and a member

of the board of elections to fraudulently deprive the citizens of Clay County the right to honest

services. (Dkt # 863, Closing Tr. at 41). In its closing argument, the Government argued, “And

that’s what we have here, absentee voter totals were corrupted in each of these elections . . . and,

therefore, when [Thompson] signs and certifies this along with Charles Wayne Jones, I would

submit to you, ladies and gentlemen, that they have committed the crime of honest services mail

fraud.” (Id. at 44). Thus, in the Government’s theory of the case, there is no quid pro quo and

no misuse of public office for personal profit. The allegation was not that these public officials

were accepting bribes in exchange for acting a certain way, but rather that they were certifying

the results of dishonest elections. Accordingly, the Government did not prove honest services

fraud against Thompson and Jones.




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       The even bigger question becomes: If the honest services fraud convictions against

Thompson and Jones fail, what does this do to Maricle’s convictions?

       With regard to the alleged racketeering enterprise, the Government argued that the

racketeering conspiracy was to control the political process in Clay County. (Dkt. # 863, Tr. at

18). It contended that Maricle was “involved in a way that related to its affairs” and he was a

“puppet master” who “pulled the strings.” (Id. at 16 and 17). The only substantive count against

Maricle that related to the racketeering conspiracy was Count 8, obstruction of justice.

       Pursuant to Salinas v. United States, 522 U.S. 52 (1997), Maricle does not have to agree

to commit two predicate acts, but rather, must agree to further an endeavor which, if completed,

would satisfy all of the elements of two predicate acts. The jury obviously found that Maricle

adopted the goal of furthering or facilitating two predicate acts, but the jury did not specify

which acts they believed he agreed to further. Because the racketeering conspiracy alleged four

predicate acts -- honest services mail fraud, extortion/attempted extortion, obstruction of justice,

and bribery – Maricle’s conviction is flawed. See Skilling, at *106 (citing Yates v. United States,

354 U.S. 298 (1957)(constitutional error occurs when a jury is instructed on alternative theories

of guilt and returns a general verdict that may rest on a legally invalid theory).

       The Skilling case was remanded to the Fifth Circuit pursuant to Hedgpeth v. Pulido, 129

S Ct. 530 (2008) so that the Fifth Circuit could take a fresh look at whether the error was

harmless. In Hedgpeth, the Court reviewed the Ninth Circuit Court of Appeals’ judgment

affirming the district court’s grant of federal habeas corpus relief. The majority remanded the

case to the Court of Appeals to determine whether instructing the jury on an invalid theory of




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guilt was harmless error, i.e. whether it had a “substantial and injurious effect or influence in

determining the jury’s verdict.” Id. at *530.1

       In analyzing whether the error was harmless on habeas review, a court must determine

“whether the error itself had substantial influence. If so, or if one is left in grave doubt, the

conviction cannot stand.” Id. at 535 (Stevens, J., dissenting). The strength of the evidence of

guilt is an important factor in the analysis. See United States v. Susskind, 4 F.3d 1400, 1406 (6th

Cir. 1993).

       On direct review, however, the stricter beyond-a-reasonable-doubt standard of Chapman

v. California, 386 U.S. 18 (1967) applies. See Neder v. United States, 527 U.S. 1, 10

(1999)(applying Chapman standard where “the erroneous instruction precludes the jury from

making a finding on the actual element of the offense.”).

       In Maricle’s case, the Government cannot argue that his racketeering conviction rested

only on the obstruction of justice predicate, because Maricle must have agreed to further two

predicate acts. This Court granted a post-trial motion for judgment of acquittal on Count 4

(Attempted Extortion) for Stivers due to insufficient evidence. A similar motion is pending for

Jones. Thus, the remaining possible predicate act is bribery.

       It is impossible to know for certain upon which theory Maricle’s convictions rested.

Furthermore, the improper honest services fraud theory tainted all of Maricle’s convictions. All

of Maricle’s convictions are inextricably intertwined with the racketeering conspiracy, and, like

dominos, must fall if the honest services fraud theory falls. See e.g. Skilling, at *107.




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  Because Hedgpeth was a habeas case, the Court used the “substantial-influence” test derived
from Kotteakos v. United States, 328 U.S. 750 (1946). See Brecht v. Abrahamson, 507 U.S. 619,
622-23 (1993). Justices Stevens, Souter, and Ginsburg dissented, finding that the courts below
did engage in a harmless error analysis and no remand was necessary.


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       For these reasons, Maricle moves this Court to vacate his convictions and grant him a

new trial.

                                           Respectfully submitted,

                                          STRAUSS & TROY, LPA

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                                CERTIFICATE OF SERVICE

       I hereby certify that an exact copy of the foregoing document was provided via the

Court’s electronic filing system upon the parties of record, on the 10th day of August, 2010.

                                             /s/ Martin S. Pinales      _______________
                                             MARTIN S. PINALES (Ohio Bar No. 0024570)




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